     Case 1:19-cr-00022-MW-GRJ       Document 102      Filed 07/20/20    Page 1 of 4




           IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                 Case No. 1:19-cr-22-MW-GRJ

CARL LEE WHITE
____________________________/

                      REPORT AND RECOMMENDATION

       On this date, the Defendant, CARL LEE WHITE, his attorney, and the

attorney for the Government appeared before the undersigned for the

purpose of considering Defendant’s entry of a guilty plea to Counts One,

Three, Four, Five, and Six of the Superseding Indictment. Count One

charges Defendant with conspiracy to distribute and to possess with intent

to distribute cocaine base, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C),

846. Counts Three, Four, Five, and Six charge Defendant with distribution

of cocaine base, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C).1

       The district judge referred this matter to the undersigned for purposes

of hearing Defendant’s proposed plea pursuant to Federal Rule of Criminal




1 The parties also appeared for Defendant to enter a guilty plea as to Count Seven, which

charges Defendant with possession with intent to distribute cocaine base, in violation of
21 U.S.C. §§ 841(a)(1), (b)(1)(C). The Court concluded there was not a factual basis to
accept Defendant’s guilty plea as to Count Seven, and the Government agreed to
proceed as to Counts One, Three, Four, Five, and Six.
   Case 1:19-cr-00022-MW-GRJ        Document 102   Filed 07/20/20   Page 2 of 4




Procedure 11, and to enter a report and recommendation as to whether to

accept the plea. All parties consented to this procedure, and the written

consent has been entered.

      The Court addressed Defendant personally in open court, and after

assuring that Defendant was competent to proceed and had consented to

pleading guilty, the Court finds:

      1. Defendant is mentally alert, appears to be reasonably intelligent,

and understands the nature of the charges as to which the plea is offered

and the consequences of a guilty plea.

      2. Defendant understands that he has a right to trial by jury, to persist

in his plea of not guilty, to assistance of counsel at trial, to confront and

cross-examine adverse witnesses, and that he has a right against

compelled self-incrimination.

      3. Defendant understands the maximum possible sentence he faces

if the guilty plea is accepted, including the effect of the supervised release

term, and understands that the sentencing guidelines apply and that the

court may depart from those guidelines under some circumstances.

      4. The plea of guilty by Defendant has been freely, knowingly, and

voluntarily made and is not the result of force or threats or of any promises



                                        2
   Case 1:19-cr-00022-MW-GRJ     Document 102    Filed 07/20/20   Page 3 of 4




except for those promises contained in the written plea agreement between

the parties.

      5. Defendant is competent to plead guilty.

      6. Defendant understands that his answers during the plea colloquy,

which were under oath, may be later used against him in a prosecution for

perjury or false statement.

      7. There is a factual basis for Defendant’s guilty plea.

      8. There is a plea agreement which should be accepted by the district

court. Defendant understands the terms of the plea agreement.

      9. Defendant has made his decision to plead guilty with the advice

and counsel of a competent attorney with whom Defendant acknowledged

he was satisfied.

      10. Defendant has voluntarily consented to go forward with his plea of

guilty before the undersigned. He understands that he has waived the ten-

day period for filing objections to this report and recommendation, and he

agrees that he has twenty-four hours from receipt of a copy of this report

and recommendation in which to file written objections, if any. The United

States also consents to this procedure, including the shorter period for

objections.



                                       3
   Case 1:19-cr-00022-MW-GRJ   Document 102    Filed 07/20/20   Page 4 of 4




     Accordingly, it is respectfully RECOMMENDED that the Court should

ACCEPT Defendant’s plea of guilty to Counts One, Three, Four, Five, and

Six of the Superseding Indictment.

     IN CHAMBERS this 20th day of July 2020.

                                         s/ Gary R. Jones
                                         GARY R. JONES
                                         United States Magistrate Judge


                       NOTICE TO THE PARTIES

      A party may file specific, written objections to the proposed
findings and recommendations within 24 hours after receiving a copy
of this report and recommendation.




                                     4
